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Delivering on President Trump’s Promise, Secretary DeVos Suspends Federal Student Loan Payments,
Waives Interest During National Emergency
U.S. Department of Education sent this bulletin at 03/20/2020 11:54 AM EDT
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                                      FOR IMMEDIATE RELEASE
                                      March 20, 2020
                                      Contact: Press Office
                                      (202) 401-1576 or press@ed.gov


                                      Delivering on President Trump’s Promise, Secretary
                                      DeVos Suspends Federal Student Loan Payments, Waives
                                      Interest During National Emergency
                                      WASHINGTON — U.S. Secretary of Education Betsy DeVos announced today that the
                                      office of Federal Student Aid is executing on President Donald J. Trump’s promise to provide
                                      student loan relief to tens of millions of borrowers during the COVID-19 national emergency.
                                      All borrowers with federally held student loans will automatically have their interest rates set
                                      to 0% for a period of at least 60 days. In addition, each of these borrowers will have the
                                      option to suspend their payments for at least two months to allow them greater flexibility
                                      during the national emergency. This will allow borrowers to temporarily stop their payments
                                      without worrying about accruing interest.

                                      “These are anxious times, particularly for students and families whose educations, careers,
                                      and lives have been disrupted,” said Secretary DeVos. “Right now, everyone should be
                                      focused on staying safe and healthy, not worrying about their student loan balance growing. I
                                      commend President Trump for his quick action on this issue, and I hope it provides
                                      meaningful help and peace of mind to those in need.”

                                      Secretary DeVos has directed all federal student loan servicers to grant an administrative
                                      forbearance to any borrower with a federally held loan who requests one. The forbearance
                                      will be in effect for a period of at least 60 days, beginning on March 13, 2020. To request this
                                      forbearance, borrowers should contact their loan servicer online or by phone. The Secretary
                                      has also authorized an automatic suspension of payments for any borrower more than 31 days
                                      delinquent as of March 13, 2020, or who becomes more than 31 days delinquent, essentially
                                      giving borrowers a safety net during the national emergency.

                                      Some borrowers may want to continue making payments, like those seeking Public Service
                                      Loan Forgiveness (PSLF) or those enrolled in a repayment plan with a manageable monthly
                                      payment. For borrowers continuing to make payments, the full amount of their payment will
                                      be applied to the principal amount of their loan once all interest accrued prior to the
                                      president’s March 13 announcement is paid. The Department will work closely with
                                      Congress to ensure all student borrowers, including those in income driven repayment plans,
                                      receive needed support during this emergency.

                                      Any borrower who has experienced a change in income can contact their loan servicer to
                                      discuss lowering their monthly payment.

                                      Visit StudentAid.gov/coronavirus for forthcoming details. For more information on all the
                                      efforts the Department is taking to address the COVID-19 national emergency, visit
                                      ed.gov/coronavirus.


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